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     ·3·   ·ON   BEHALF OF THE PLAINTIFF(S):
                                                                     ·2· · · · (On the record 9:01 a.m.)
     ·4·   · ·   · LAURA J. KNOPP, ESQUIRE                           ·3· · · · VIDEOGRAPHER:· We are now on the
     · ·   · ·   · PODOLL & PODOLL, P.C.                             ·4· ·record.· The time is 9:01 a.m. on Tuesday,
     ·5·   · ·   · 5619 DTC PARKWAY, SUITE 1100                      ·5· ·March 8, 2022.· This begins at the
     · ·   · ·   · GREENWOOD VILLAGE, COLORADO 80111
                                                                     ·6· ·videoconference deposition of Barbara Fleck
     ·6·   · ·   · 303-861-4000
     · ·   · ·   · LAURA@PODOLL.NET                                  ·7· ·taken in the matter of Aaron H. Fleck
     ·7                                                              ·8· ·Revocable Trust, Barbara G. Fleck Revocable
     ·8                                                              ·9· ·Trust, Aaron Fleck and Barbara Fleck versus
     ·9·   ·ON   BEHALF OF THE DEFENDANT(S):
                                                                     10· ·First Western Trust Bank, Charles Bantis and
     10·   · ·   · ADAM B. STERN, ESQUIRE
     · ·   · ·   · BRYAN CAVE LEIGHTON PAISNER, LLP
                                                                     11· ·Andrew Godfrey, filed in the US District
     11·   · ·   · 1700 LINCOLN STREET, SUITE 4100                   12· ·Court for the District of Colorado, case
     · ·   · ·   · DENVER, COLORADO 80203                            13· ·number of which is 21-CV-01073-CMA-GPG.
     12·   · ·   · 303-861-7000
                                                                     14· · · · My name is Joshua Oshima, I'm your
     · ·   · ·   · ADAM.STERN@BCLPLAW.COM
     13
                                                                     15· ·remote videographer today.· The court
     14                                                              16· ·reporter is Jennifer Cormican.· We are
     15·   ·ALSO APPEARING:                                          17· ·representing Esquire Deposition Solutions.
     16·   · · · RICHARD PODOLL, CO-COUNSEL WITH MS. KNOPP           18· ·As a courtesy, everyone who is not speaking,
     17·   · · · AARON FLECK, SPOUSE OF DEPONENT
     18·   · · · VIDEOGRAPHER, JOSHUA OSHIMA
                                                                     19· ·please mute your audio and please remember
     19·   · ·**All parties appearing via Zoom videoconference**     20· ·to unmute when you are ready to speak.· Will
     20                                                              21· ·everyone ready present please identify
     21                                                              22· ·themselves and state who you represent,
     22
                                                                     23· ·after which the court reporter will swear in
     23
     24                                                              24· ·the witness.
     25                                                              25· · · · MS. KNOPP:· Laura Knopp on behalf of



                                                                                                                          Ex. 11
                                                                                                         800.211.DEPO (3376)
                                                                                                         EsquireSolutions.com              YVer1f
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    BARBARA FLECK                                                                                               March 08, 2022
    FLECK REVOCABLE TRUST vs FIRST WESTERN                                                                                9–12
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     ·1· · · · A· · Not really.· I haven't been that involved.          ·1· · · · Q· · Do you know whether you paid any taxes in
     ·2· · · · Q· · Okay.· Did you approve this lawsuit before          ·2· ·2020?
     ·3· ·it was filed?                                                 ·3· · · · A· · No.
     ·4· · · · A· · I haven't been involved so I can't say. I           ·4· · · · Q· · Do you claim that you have ever been misled
     ·5· ·don't think that I was.                                       ·5· ·by First Western Trust Bank?
     ·6· · · · Q· · Okay.· Can you explain to me what defenses          ·6· · · · A· · No.
     ·7· ·First Western has asserted in this lawsuit?                   ·7· · · · Q· · Do you claim that you have ever been misled
     ·8· · · · A· · No.                                                 ·8· ·by Andy Godfrey or Charles Bantis?
     ·9· · · · Q· · What is the Barbara G. Fleck Revocable              ·9· · · · A· · No.
     10· ·Trust?                                                        10· · · · Q· · Okay.· Are you seeking to have this lawsuit
     11· · · · A· · I don't -- I can't even explain that to you.        11· ·be a class action lawsuit?
     12· · · · Q· · Have you ever been a trustee of the Barbara         12· · · · A· · I don't know.
     13· ·G. Fleck Revocable Trust?                                     13· · · · Q· · Are you seeking to serve as a class
     14· · · · A· · I don't know that.                                  14· ·representative in this lawsuit?
     15· · · · Q· · What is the Aaron H. Fleck Revocable Trust?         15· · · · A· · I don't think so.
     16· · · · A· · I don't know.                                       16· · · · Q· · Other than attending today's deposition,
     17· · · · Q· · Have you ever been a trustee of the Aaron H.        17· ·have you done anything to participate in this lawsuit?
     18· ·Fleck Revocable Trust?                                        18· · · · A· · No.· I don't get involved with my husband's
     19· · · · A· · I don't know.                                       19· ·affairs.
     20· · · · Q· · Do you believe that First Western Trust Bank        20· · · · Q· · Do you understand what it means to be a
     21· ·did anything wrong to you?                                    21· ·class representative in a class action lawsuit?
     22· · · · A· · I don't -- I'm not sure.· I don't know.             22· · · · A· · No.
     23· ·It's up to my husband.                                        23· · · · Q· · Are you willing to be a class representative
     24· · · · Q· · Okay.· Do you believe that Andy Godfrey or          24· ·in this lawsuit if it is approved to be a class
     25· ·Charles Bantis did anything wrong to you?                     25· ·action?

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     ·1· · · · A· · Again, it's up to my husband.                       ·1· · · · A· · I don't know, but I don't think so.
     ·2· · · · Q· · Okay.· Did you review the complaint in this         ·2· · · · Q· · Okay.
     ·3· ·lawsuit before it was filed?                                  ·3· · · · A· · Yes.· I guess, yes.
     ·4· · · · A· · No.                                                 ·4· · · · Q· · Did your husband Aaron Fleck just tell you
     ·5· · · · Q· · Okay.· Are you aware of whether you have            ·5· ·to say yes?
     ·6· ·provided a power of attorney to anyone to act on your         ·6· · · · A· · No.
     ·7· ·behalf?                                                       ·7· · · · Q· · Then why did you change your answer?
     ·8· · · · A· · No, I'm not aware.                                  ·8· · · · A· · Because it didn't sound very good.
     ·9· · · · Q· · Okay.· Do you recall any meetings between           ·9· · · · Q· · What do you -- if you are a class
     10· ·you and First Western Trust Bank?                             10· ·representative in this lawsuit, what do you plan to do
     11· · · · A· · No.                                                 11· ·to protect the interests of absent class members?
     12· · · · Q· · Do you recall any meetings between you and          12· · · · A· · Would you repeat that?· I don't think I'm
     13· ·Andy Godfrey?                                                 13· ·going to have an answer, but repeat it, please.
     14· · · · A· · No.                                                 14· · · · Q· · Yes.· If you end up being a class
     15· · · · Q· · Do you recall between you and Doug Barker?          15· ·representative in this lawsuit, what do you plan to do
     16· · · · A· · No.                                                 16· ·to protect the interests of absent class members?
     17· · · · Q· · Do you recall any meetings between you and          17· · · · A· · I have no idea.
     18· ·Charles Bantis?                                               18· · · · Q· · Do you believe that you're capable of
     19· · · · A· · No.                                                 19· ·providing testimony at a trial in this lawsuit in
     20· · · · Q· · Do you know whether you paid any taxes in           20· ·support of your claims?
     21· ·2018?                                                         21· · · · A· · Say that again, please.
     22· · · · A· · No.                                                 22· · · · Q· · Do you believe that you're capable of
     23· · · · Q· · Do you know whether you paid any taxes in           23· ·providing testimony in this lawsuit in support of your
     24· ·2019?                                                         24· ·claims?
     25· · · · A· · No.                                                 25· · · · A· · It's -- in certain questions that I know the


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